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           %PE[WYMXLEWFIIRJMPIHEKEMRWX]SY

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 (EXI        July 29, 2020                                                         /s/ E. Synagogue
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Case 2:20-cv-06587-JVS-ADS Document 26 Filed 07/29/20 Page 2 of 4 Page ID #:91




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           8LMWWYQQSRWJSV REQISJMRHMZMHYEPERHXMXPIMJER]
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               -TIVWSREPP]WIVZIHXLIWYQQSRWSRXLIMRHMZMHYEPEX TPEGI
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 (EXI
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Case 2:20-cv-06587-JVS-ADS Document 26 Filed 07/29/20 Page 3 of 4 Page ID #:92
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 9   *Pro Hac Vice admission to be sought
10   Attorneys for Plaintiff and the Class
11                        UNITED STATES DISTRICT COURT
12                       CENTRAL DISTRICT OF CALIFORNIA
13
14   Erica Reiners, individually and on
     behalf of all others similarly situated,
15                                                 Case No.
16                              Plaintiff,

17                                                 CLASS ACTION COMPLAINT
     v.
18
     Chou Team Realty, LLC d/b/a
19                                                 JURY TRIAL DEMANDED
     MonsterLoans, a California limited
20   liability company, Lend Tech Loans,
     Inc., a California corporation, Sean
21   Cowell, an individual, Thomas Chou,
22   an individual, Mikael Van Loon, an
     individual, Jawad Nesheiwat, an
23   individual, and Eduardo Martinez, an
24   individual,

25                              Defendants.
26
27
28

     CLASS ACTION COMPLAINT                  -1-
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